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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 NASTASI & ASSOCIATES, INC.,                                              :
                                                                          :
                                     Plaintiff,                           :    20-CV-5428 (JMF)
                                                                          :
                   -v-                                                    :        ORDER
                                                                          :
 BLOOMBERG, L.P., et al.,                                                 :
                                                                          :
                                     Defendants.                          :
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JESSE M. FURMAN, United States District Judge:

         On October 22, 2021, Defendants filed motions to dismiss the complaint under Rule 12(b)
of the Federal Rules of Civil Procedure, consistent with the briefing schedule set by the Court on
September 27, 2021. See ECF No. 29. On November 12, 2021, Plaintiff filed an Amended
Complaint. See ECF No. 52. Accordingly, it is hereby ORDERED that, notwithstanding the
briefing schedule adopted on September 27, 2021, by December 3, 2021, Defendants shall jointly:
(1) file an answer; (2) file a new joint motion to dismiss (and may also file individual motions as set
out in the September 27, 2021 Order); or (3) file a joint letter on ECF stating that they rely on the
previously filed motions to dismiss. If Defendants file an answer or new motions to dismiss, the
Court will deny the previously filed motions to dismiss as moot. If Defendants file new motions to
dismiss or rely on their previous motions, any opposition shall be filed by December 22, 2021, and
any reply shall be filed by January 5, 2022.

        SO ORDERED.

Dated: November 15, 2021                                   __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
